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      Attorney(s) for Plaintiff Symbology Innovations, LLC
  7

  8                  IN THE UNITED STATES DISTRICT COURT
  9
                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                  SAN DIEGO
 10

 11
      SYMBOLOGY INNOVATIONS,                 )
 12   LLC,                                   )
                                             )
 13
                         Plaintiff,          )   C.A. No. 3:20-cv-00088-CAB-MSB
 14                                          )
            v.                               )   PLAINTIFF’S NOTICE OF VOLUNTARY
 15
                                             )   DISMISSAL
 16   GENERAL NUTRITION                      )
      CORPORATION,                           )
 17
                                             )
 18                      Defendant.          )
 19

 20
            Plaintiff Symbology Innovations, LLC, pursuant to Rule 41(a)(1)(A)(i) of the
 21

 22
      Federal Rules of Civil Procedure and Local Rule 77.2, hereby provides notice that it

 23   dismisses WITH prejudice all claims by Plaintiff against Defendant General Nutrition
 24
      Corporation. Each party shall bear its own costs, expenses, and attorneys’ fees.
 25

 26   Dated: April 6, 2020                   Respectfully submitted
 27

 28                                          /s/ Kirk J. Anderson
                                                  1
                             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
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  6
                                             Attorney(s) for Plaintiff Symbology
  7                                          Innovations, LLC.
  8

  9
                                  CERTIFICATE OF SERVICE
 10

 11         I hereby certify that on April 6, 2020, I electronically filed the above documents
 12   with the Clerk of Court using CM/ECF which will send electronic notification of such
 13
      filings to all registered counsel.
 14

 15

 16                                                 /s/ Kirk J. Anderson
 17                                                 Kirk J. Anderson
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                              PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
